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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
               2:20-cv-08035-SVW-JPR                                                            1/28/2021
Case No.                                                                                 Date


Title          Hong Liu v. Faraday & Future Inc. et al.




        Present: The Honorable   STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                        Paul M. Cruz                                               N/A
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                              N/A                                                      N/A
        Proceedings:          ORDER GRANTING MOTION TO DISMISS COUNTERCLAIMS AND
                              STRIKE AFFIRMATIVE DEFENSE [74]


           Before the Court is Plaintiff Hong Liu’s motion to dismiss Defendant Faraday & Future Inc.’s
    counterclaims for fraudulent inducement and rescission and motion to strike Defendant’s affirmative
    defense of fraudulent inducement. The motion is GRANTED with leave to amend.

            “To comply with Rule 9(b), allegations of fraud must be specific enough to give defendants
    notice of the particular misconduct which is alleged to constitute the fraud charged so that they can
    defend against the charge and not just deny that they have done anything wrong.” Swartz v. KPMG
    LLP, 476 F.3d 756, 764 (9th Cir. 2007) (citation omitted). That requires “an account of the ‘time, place,
    and specific content of the false representations,” id. at 764 (citation omitted), as well as the “facts
    explaining why the statement was false when it was made,” Cheng Jiangchen v. Rentech, Inc., 2017 WL
    10363990, at *3 (C.D. Cal. 2017) (citation omitted).

           Here, Defendant’s counterclaim entirely fails to identify what misrepresentations Plaintiff made
    when negotiating his employment. The counterclaim only describes the qualifications Plaintiff
    represented he had and asserts that Plaintiff performed poorly in his role. The counterclaim then
    attempts to infer from Plaintiff’s poor performance that Plaintiff misrepresented “the skills, business
    acumen, and the connections necessary for the roles he obtained with [Defendant].” Dkt. 72 ¶ 48.
    Under Rule 9(b), Defendant must spell out which representations were false and why.




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                                                                Initials of Preparer             PMC

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            Accordingly, Defendant’s counterclaim for fraudulent inducement is dismissed. Because
    Defendant’s rescission claim is dependent on its fraudulent inducement claim, that claim is also
    dismissed. Finally, and for the same reason, the affirmative defense of fraudulent inducement in
    Plaintiff’s answer is stricken under Rule 12(f). The Court will give Defendant leave to amend its
    counterclaim and answer within 21 days of the issuance of this Order.

            IT IS SO ORDERED.




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                                                              Initials of Preparer            PMC

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